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                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

              Plaintiff,                              Case No. 4:12-CR-278-BLW

       v.                                             INDICITIVE RULING UNDER
                                                      FED.R.APP.P. 12.1
JUAN CARLOS-GARCIA,

              Defendant.



       The Court has before it a motion to modify a special condition of supervised

release for defendant Juan Carlos Garcia. The case is presently on appeal and so the

Court has no current jurisdiction to grant the motion. But Rule 12.1 lets the Court give

an “indicative ruling” indicating that if the matter was remanded, the Court would grant

the motion. The parties seek a modification of the special condition of supervised release

that the defendant be “prohibited from possessing any item representing or showing

affiliation with gangs.” The parties seek to change that language to prohibit the

defendant from “knowingly” possessing any item representing or showing affiliation with

“the Mexican Mafia; the Young Crowd; or the Sureno gangs.” This change aligns with

Ninth Circuit law, and the Court would make the change if the Ninth Circuit remands the

case to this Court. Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED, that the Court indicates that it

would grant the modification to the special condition of supervised release requested by

the parties if the case was remanded to this Court.
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                                 DATED: September 30, 2015


                                 _________________________
                                 B. Lynn Winmill
                                 Chief Judge
                                 United States District Court
